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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )         Docket No. 4:05CR3035
          v.                        )
                                    )
JOSE ENRIQUE AYALA CHAVEZ,          )
                                    )                    ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     1. Defendant’s motion to continue, filing 63, is granted
and the change of plea hearing is continued to December 27, 2005
at 1:30 p.m. before the undersigned magistrate judge in Courtroom
2, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     DATED: November 23, 2005.

                                   BY THE COURT:


                                   S/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
